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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


  UNITED STATES, et al.,

                            Plaintiffs,

              - against -                    Civil Action No. 1:23-cv-00108
                                             (LMB) (JFA)
  GOOGLE LLC,

                            Defendant.


              GOOGLE LLC’S OPPOSITION TO THE UNITED STATES’
            MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS OR,
                 IN THE ALTERNATIVE, A PROTECTIVE ORDER
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  I.     INTRODUCTION

         The Antitrust Division of the Department of Justice (“DOJ”) seeks to cut off inquiry into

  the biases of its prosecutor and witnesses by filing an untimely motion on two defenses. DOJ

  argues both that Google fails to plead enough facts, but also that Google cannot be allowed to

  gather those facts. This contradiction perfectly illustrates the frailty of DOJ’s position and its

  ultimate motive. DOJ’s challenge to Google’s defenses is untimely and improper, and DOJ has

  failed to show “good cause” to avoid Google’s relevant and narrowly tailored discovery requests.

         As the record already establishes, DOJ is seeking at least $300 million in damages, before

  trebling, on behalf of eight federal agencies. Notwithstanding its multi-year investigation, DOJ’s

  initial outreach to these federal agencies did not begin in earnest until just weeks before it filed

  its complaint, and there is hardly any mention of the federal agencies in the complaint. In

  addition, federal agency witnesses have testified that they do not view Google’s conduct as

  anticompetitive or harmful. Quite the opposite, federal agency witnesses have testified to the

  benefits Google has created for them. The federal agencies did not ask DOJ to file a complaint

  on their behalf; nor did they understand that they would be participating in this litigation until

  sometime after the complaint was filed. These facts demonstrate that the federal agencies are not

  the parties on whose behalf DOJ is bringing this case.

         So on whose behalf is DOJ bringing this lawsuit? Discovery to date has shown that

  DOJ’s investigation focused on two categories of allegedly aggrieved industry participants:

  (1) big industry publishers; and (2) competitors of Google. These two categories of industry

  participants—big publishers and Google’s ad tech competitors—have something in common:

  many of them were clients of Assistant Attorney General Jonathan Kanter (“AAG Kanter”)

  while he was in private practice, paying him millions of dollars over a period of fifteen years to

  advocate that DOJ and other antitrust enforcers bring antitrust cases against Google. The

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  allegations in DOJ’s complaint contain many of the same or similar phrases that AAG Kanter

  included in advocacy pieces he prepared on behalf of private paying clients for DOJ and other

  antitrust enforcers. It is these big publishers and Google competitors—previously represented by

  AAG Kanter while he was in private practice—on whose behalf this case was filed.

         “A scheme injecting a personal interest, financial or otherwise, into the enforcement

  process may bring irrelevant or impermissible factors into the prosecutorial decision and in some

  contexts raise serious constitutional questions.” Marshall v. Jerrico, Inc., 446 U.S. 238, 248

  (1980). AAG Kanter’s deep-seated bias against Google—pre-judging Google even before he

  assumed public office—violates Google’s Due Process right to a neutral prosecutor. Since

  assuming office, AAG Kanter has also treated his former clients differently than Google,

  reflecting selective enforcement of the antitrust laws.              The detailed facts in this

  opposition—demonstrating how AAG Kanter is using public office to accomplish what he was

  unable to do in private practice on behalf of his paying clients—are largely based on publicly

  available information.    As the events leading up to the filing of this case become clearer,

  Plaintiffs, as well as former clients of AAG Kanter, have tried to block Google from learning

  more about their roles in orchestrating this lawsuit. This evidence is relevant both to Google’s

  defenses, and the motives and biases of witnesses DOJ is likely to call at trial.

         Plaintiffs should not be permitted to escape further discovery through a motion for

  judgment on the pleadings or a motion to strike. Plaintiffs’ deadline for filing a motion to strike

  was June 2, 2023—a deadline that has long passed—and a motion for judgment on the pleadings,

  as the Fourth Circuit has stated, “generally cannot reach the merits of an affirmative defense”

  except in the “relatively rare circumstances where facts sufficient to rule on the affirmative

  defense are alleged in the complaint.” Goodman v. Praxair, Inc., 494 F.3d 458, 468 (4th Cir.




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  2007) (en banc). And because the discovery that Google seeks relates not only to its defenses,

  but also the biases, motives, and credibility of parties that are likely to be key DOJ witnesses,

  DOJ has failed to establish the “good cause” required for issuance of a protective order

  foreclosing further discovery on its defenses and witness biases.

  II.    FACTUAL BACKGROUND
         A.      For Over 15 Years in Private Practice, Google’s Rivals Paid AAG Kanter to
                 Persuade DOJ to File Ad Tech Litigation.

         When President Biden nominated Jonathan Kanter to be the U.S. Department of Justice’s

  Assistant Attorney General for Antitrust, the New York Times headline read, “Biden to Name a

  Critic of Big Tech as the Top Antitrust Cop,” and described AAG Kanter as “an antitrust lawyer

  who has made a career of representing rivals of American tech giants like Google.”1 When AAG

  Kanter was confirmed by the Senate, Bloomberg announced, “Senate Confirms Google Foe as

  DOJ’s Antitrust Chief,” pointing out his work in private practice as “a lawyer for companies like

  Microsoft Corp., Yelp Inc. and News Corp that advocated for antitrust enforcement against

  Google.”2 And when AAG Kanter brought this action against Google’s ad tech business, the

  Wall Street Journal reported, “DOJ Suit to Break Up Google Was Years in the Making for

  Antitrust Chief,” explaining that AAG Kanter “has been one of Google’s main legal foes for

  nearly 15 years,” and highlighting his work for several of Google’s rivals, including Microsoft,

  Yelp, and News Corp, among others.3

         In his Senate Questionnaire, AAG Kanter described his private practice as working

  1
   Lauren Hirsch & David McCabe, Biden to Name a Critic of Big Tech as the Top Antitrust Cop,
  N.Y. Times (originally published July 20, 2021), https://nyti.ms/3DnL1Yi.
  2
   David McLaughlin, Senate Confirms Google Foe Jonathan Kanter as DOJ’s Antitrust Chief,
  Bloomberg (Nov. 16, 2021), http://tiny.cc/ic0avz.
  3
   Dave Michaels, DOJ Suit to Break Up Google Was Years in the Making for Antitrust Chief,
  Wall St. J. (Jan. 29, 2023), http://tiny.cc/7h1avz.

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  behind the scenes to persuade federal and state antitrust agencies to bring cases against his

  clients’ business rivals. He highlighted his paid work “on behalf of clients to oppose mergers,

  acquisitions, and joint ventures, including Google’s acquisition of DoubleClick,”4 which is now a

  central allegation of this lawsuit.

          Publicly available information demonstrates that AAG Kanter spent more than 15 years

  of his private practice career trying to persuade DOJ and other antitrust enforcers to bring

  litigation against Google’s ad tech business on behalf of his clients, many of which are Google’s

  top business rivals.

          B.      AAG Kanter Has Been Adverse to Google in His Representation of
                  Microsoft.

          In 2007, to help grow its display ads business, Google sought to acquire DoubleClick.5

  The Federal Trade Commission (“FTC”) reviewed the transaction and cleared it.6 That clearance

  came despite stiff opposition from one of Google’s chief ad tech rivals, Microsoft, which

  engaged in an extensive, months-long campaign to lobby internet companies, consumers, and

  regulators to oppose the transaction.7 (Notably, reports stated that Microsoft had itself tried to

  purchase DoubleClick, but that Google had beaten its offer.8) AAG Kanter, then a partner at


  4
   U.S. Senate Comm. on the Judiciary Questionnaire for Non-Judicial Nominees: Jonathan
  Kanter 24, http://tiny.cc/eh1avz (accessed August 30, 2023) (“Kanter Judiciary Questionnaire”).
  5
   Louise Story & Miguel Helft, Google Buys DoubleClick for $3.1 Billion, N.Y. Times (Apr. 14,
  2007), http://tiny.cc/eodavz.
  6
   Fed. Trade Comm’n, FTC File No. 071-0170, Statement of the Federal Trade Commission
  Concerning Google/DoubleClick 1 (Dec. 20, 2007), http://tiny.cc/wg1avz.
  7
     Elizabeth Montalbano, Microsoft launches campaign against Google-DoubleClick
  merger, Computerworld (Sept. 24, 2007), http://tiny.cc/godavz; EU: Microsoft's Last Stand
  Against Google's Acquisition of DoubleClick, TechCrunch (Dec. 26, 2007), http://tiny.cc/iodavz.
  8
    Steve Lohr, Microsoft Urges Review of Google-DoubleClick Deal, N.Y. Times (Apr. 16),
  https://www.nytimes.com/2007/04/16/technology/16soft.html.


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  Cadwalader, Wickersham & Taft, was heavily involved in Microsoft’s anti-Google advocacy.9

            AAG Kanter’s anti-Google work on behalf of Microsoft continued after the FTC cleared

  the DoubleClick transaction.       In 2009, AAG Kanter helped lobby regulators on behalf of

  Microsoft in its attempt to acquire Yahoo! Inc.’s search business.10 And although they have not

  yet been produced, Microsoft has indicated its intent to produce two papers “related to” AAG

  Kanter’s “representation of Microsoft” in 2010 and 2011, which have been described as

  “Google’s Acquisition of Ad Mob: An Anticompetitive Deal to Combine the Top Two Firms in

  Mobile Advertising (2010),” and “Anticompetitive Concerns of Google’s Proposed Acquisition

  of Admeld (2011).”11 Microsoft, a well-established Google competitor, also paid AAG Kanter to

  lobby the FTC to investigate Google in 2012 over conduct relevant to Google’s search business

  (which the FTC determined not to be anticompetitive).12 He “was a member of the team[s]” that

  filed antitrust complaints against Google on behalf of TradeComet and MyTriggers,13 litigations

  that Microsoft reportedly spearheaded as part of a “proxy war” against Google.14 AAG Kanter



  9
   Kanter Judiciary Questionnaire at 24; Legal Week, US briefing: The Google slayers, Law.com
  (May 19, 2010), http://tiny.cc/95favz; John Hendel, Biden’s Trustbuster Streak Continues with
  Kanter Pick, POLITICO (July 21, 2021, 10:00 AM), https://politi.co/3jZDhnB; Steve Lohr &
  Cecilia Kang, A Star Corporate Lawyer Now Set to Take On Corporate America, N.Y. Times
  (Oct. 28, 2021), http://tiny.cc/kc0avz.
  10
   Legal Week, supra note 9; see also Sharon Gaudin, Antitrust Attorney: Microsoft-Yahoo Deal
  Won’t Pass Regulatory Muster, Computerworld (Aug. 24, 2009, 6:00 AM), http://tiny.cc/lh1avz.
  11
       Ex. 24 (excerpt of Microsoft’s Responses & Objections to Google’s Document Subpoena).
  12
     Hendel, supra note 9 (describing Kanter as “a key figure in the FTC’s 2012 antitrust
  investigation of Google, in which he represented Microsoft”); see also Fed. Trade Comm’n, FTC
  File No. 111-0163, Statement of the Federal Trade Commission Regarding Google’s Search
  Practices, In re Google Inc. (Jan. 3, 2013), http://tiny.cc/nh1avz.
  13
       Kanter Judiciary Questionnaire at 20-21.
  14
     Antitrust Rhetoric Heats Up Between Google, Microsoft, Reuters (Mar. 1, 2010, 9:34 PM),
  http://tiny.cc/oh1avz (“A variety of news outlets and blogs are reporting on allegations that

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  listed these matters as two of the top ten “most significant” matters he handled in his career.15

         C.      AAG Kanter’s Anti-Google Public Statements Between 2006-2019.

         AAG Kanter’s public statements prior to his confirmation as AAG show that he has long

  pre-judged that Google has violated the antitrust laws. He publicly stated that he has been

  waiting years for DOJ and the FTC to “act swiftly” against Google for its acquisitions of

  DoubleClick, AdMob, and Admeld—acquisitions at issue in this suit.16 He has elsewhere

  referred to Google as a “monopol[y]” that “stifle[s] innovation” and “economic growth” (despite

  expressly stating such an opinion was solely his own).17 He has called for a movement of

  antitrust action to “stop” Google.18 And public reports have labeled him an “architect of the

  EU’s antitrust case against Google.”19

         AAG Kanter also published an op-ed speculating that Google would violate the antitrust




  Microsoft may be engaging in a proxy war against Google, using smaller companies to fight its
  battles.”).
  15
     Kanter Judiciary Questionnaire, at 20-21. Both lawsuits were dismissed. Geoffrey Manne,
  TradeComet's Antitrust Complaint Against Google is Dismissed, Forbes (Mar. 9, 2010),
  http://tiny.cc/apdavz; Ron Knox, Google wins motion to dismiss myTriggers lawsuit,
  Global Competition Review (Sept. 2, 2011), https://globalcompetitionreview.com/article/google-
  wins-motion-dismiss-mytriggers-lawsuit.
  16
     Open Markets Institute Conference: The New Gatekeepers: Journalism in the Era of
  Platform Monopoly (Panel Session 1) at 33:42-36:55 (June 14, 2018), https://youtu.be/40HXpi0I
  zDk?t=2022.
  17
     Conference of Western Attorneys General: Competition and Innovation in Online Markets
  (Panel Session 6) at 13:15-13:51, 15:55-16:22 (Aug. 21, 2017), http://tiny.cc/jf1avz; see also
  Jonathan Kanter, Don’t Hand Our TVs Over to Google, N.Y. Times: Opinion (May 30, 2016),
  https://nyti.ms/3ly4aQM; Legal Week, supra note 9.
  18
    Adam Satariano & Jack Nicas, E.U. Fines Google $5.1 Billion in Android Antitrust Case, N.Y.
  Times (July 18, 2018), http://tiny.cc/kf1avz.
  19
    Roger McNamee, Biden Has to Play Hardball with Internet Platforms, WIRED (July 24,
  2021), http://tiny.cc/lf1avz.


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  laws if given the chance.20 He also accused Google of having “a long history of harming content

  providers.” Id. The questionnaire he completed for the U.S. Senate Committee on the Judiciary

  reflects that AAG Kanter has regularly spoken out against Google on panels, at other

  public-speaking events, and in the press.21

            In July 2020, AAG Kanter emailed DOJ about a presentation that he and Susan Athey,

  then Microsoft’s Chief Economist, had prepared to encourage DOJ to take antitrust enforcement

  action against Google. The email made clear that “Susan and I will each participate on our own

  behalf (not for any specific client).”22

            D.     AAG Kanter, on Behalf of His Private Clients, Urged DOJ to Sue Google
                   Relating to Its Ad Tech Business.

            In August 2019, DOJ opened an antitrust investigation into Google’s ad tech business.

  DOJ received documents and advocacy materials from many third parties, a number of whom

  were represented by AAG Kanter. These Kanter-represented third parties included Google’s ad

  tech rivals—Magnite (formerly known as Rubicon), OpenX, and Roku—as well as a number of

  large publishers (including News Corp)—some of whom were claiming to experience declining

  revenues as consumers were shifting to non-traditional media sources.23 News Corp, Advance

  Local, IAC, Vimeo, and Yelp each retained AAG Kanter and Susan Athey to persuade DOJ to
  20
       Kanter, Don’t Hand Our TVs Over to Google, supra note 16.
  21
     Kanter Judiciary Questionnaire at 4-13 (listing written publications, speeches & panel
  participation, and statements to press).
  22
       Ex. 1 (DOJ-ADS-B-0000001123).
  23
     E.g., Ex. 2 (DOJ-ADS-B-0000024792, with attached DOJ-ADS-B-0000024793 (Rubicon));
  Ex. 3 (DOJ-ADS-0000030221 (OpenX)); Ex. 4 (DOJ-ADS-0000037533 (Roku)); Miles Kruppa
  & Sam Schechner, Google Critic Is Cleared to Work on U.S. Antitrust Matters Involving Search
  Giant, Wall Street Journal (Jan. 13, 2023, 2:34 pm), http://tiny.cc/updavz (referring to Kanter’s
  work for Magnite (f/k/a Rubicon), OpenX, and News Corp); Claude Marx, Kanter gets
  bipartisan backing from past DOJ antitrust heads, MLex (Oct. 4, 2021), https://www.mlexwatch.
  com/articles/13641/print?section=ftcwatch (referring to AAG Kanter’s work for Roku).


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  sue Google for alleged anticompetitive conduct affecting digital advertising.24 News Corp also

  paid AAG Kanter to advocate to the House Subcommittee on Antitrust, Commercial and

  Administrative Law and to foreign regulators (including the European Commission, the United

  Kingdom’s Competition and Markets Authority, and the French Competition Authority) that they

  should take antitrust action against Google’s ad tech business.25

         E.      Microsoft, Through Acquisitions, Including the Xandr Acquisition, Has
                 Developed an Ad Tech Business Substantially Similar to Google’s Ad Tech
                 Stack.

         Microsoft has been building its own comprehensive ad tech offering and is one of the

  foremost competitors to Google.       In 2019, it acquired PromoteIQ, a retail media ad tech

  company, and renamed Bing Ads to Microsoft Advertising.26 Then on June 6, 2022, Microsoft

  acquired Xandr (formerly AppNexus), providing Microsoft—just like Google—with a full ad

  tech stack comprising both demand- and sell-side platforms.         As a result of Microsoft’s

  acquisition of Xandr, Microsoft’s ad tech stack now includes Microsoft Advertising (an ad

  buying tool substantially similar to Google Ads); Xandr Invest, which is a demand side platform

  (an ad buying tool substantially similar to Google’s DV360); and Xandr Monetize, which

  consists of both a publisher ad server and supply-side platform (an ad selling tool substantially


  24
    E.g., Ex. 5 (DOJ-ADS-B-0000021660 (News Corp)); Ex. 6 (DOJ-ADS-B-0000002223
  (Advance Local)); Ex. 7 (DOJ-ADS-B-0000040065 (IAC and Vimeo)); Ex. 8
  (DOJ-ADS-0000037484 (Vimeo)); Ex. 9 (DOJ-ADS-B-0000001433 (Yelp)).
  25
    Ex. 10 (NEWSCORP-DOJCID-00002354); Ex. 11 (NEWSCORP-DOJCID00003628); Ex. 12
  (NEWSCORP-DOJCID-00003558); Ex. 13 (DOJ-ADS-0000066206); see also Natasha Lomas,
  France fines Google $268M for adtech abuses and gets interoperability commitments,
  TechCrunch (June 7, 2021, 7:46 AM), http://tiny.cc/8e0avz (“The publishing groups that made
  the original complaint against Google in France [included] News Corp Inc.”).
  26
    Jordan Novet, Microsoft buys retail advertising start-up PromoteIQ, CNBC (Aug. 5, 2019
  12:11 pm), http://tiny.cc/4qdavz; Rik van der Kooi, Bing Ads is now Microsoft Advertising,
  Microsoft Advertising Blog (Apr. 29, 2019), http://tiny.cc/0qdavz.


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   similar Google Ad Manager).27 In short, Microsoft offers a suite of ad tech products and services

   just like Google’s, and in direct competition with Google, on both the buy and sell side. Yet, to

   Google’s knowledge, Microsoft’s acquisition of Xandr was not challenged by antitrust regulators

   and did not face any of the same scrutiny that had been directed at Google at the time of its

   DoubleClick acquisition. In 2022, “armed with adtech unit Xandr and a global ad sales force,”

   Microsoft became “the tech and sales provider for” Netflix’s “new ad-supported streaming

   service over the presumed favorites Google and NBCUniversal parent Comcast.”28 At the close

   of 2022, Microsoft had advertising revenues of over $11.5 billion, a 25 percent increase over the

   preceding year.29 Microsoft has also reportedly begun leveraging its ad tech stack to promote its

   first-party products and integrations, including its owned and operated platforms.30

             F.     This Suit Was Filed Shortly After AAG Kanter Completed His Recusal and
                    Cooling Off Period.

             When AAG Kanter took office, he became subject to the standards of ethical conduct for

   employees of the executive branch, including 5 C.F.R. § 2635.502(b)(1)(iv). This regulation

   precluded his participation in matters involving “any person for whom [he] has, within the last

   year, served as” an “attorney.” Pursuant to this regulation, he recused himself from the ad tech

   matter “because he had, while in private practice, represented third parties in connection with the


   27
       Lucinda Southern, AT&T Sells Xandr to Microsoft, AdWeek (Dec. 21, 2021),
   http://tiny.cc/6qdavz. The allegation in the Complaint that Google was “the lone conflicted
   representative of both buyers and sellers,” Am. Compl. ¶ 39, ignores that Microsoft—one of
   Google’s chief tech rivals, a former client of AAG Kanter—likewise represents both buyers and
   sellers across its suite of ad tech tools.
   28
    R. Joe, H. Langley, A. Stewart, How Microsoft won Netflix, the ad prize of the year — and why
   Google lost it, Business Insider (July 14, 2022), http://tiny.cc/7qdavz.
   29
        Microsoft 2022 Annual Report, http://tiny.cc/8qdavz.
   30
      James Hercher, Microsoft Is Deprioritizing Third-Party Ad Tech Amid Reorgs And
   Layoffs, Ad Exchanger (June 6, 2023), http://tiny.cc/9qdavz.


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   investigations of Google’s search and ad tech businesses.” Mot. 5. In addition, AAG Kanter had

   to sign the Biden administration’s Ethics Pledge, which contractually committed him to conduct

   himself in a manner “that upholds the independence of law enforcement and precludes improper

   interference with investigative or prosecutorial decisions of the Department of Justice.”31

   Specifically, “as a condition, and in consideration, of [his] employment in the United States

   Government in a position invested with the public trust,” he committed to the “revolving door

   ban,” which he agreed would be “binding on [him] and [ ] enforceable under law”:

              Revolving Door Ban — All Appointees Entering Government. I will not for a period of
              2 years from the date of my appointment participate in any particular matter involving
              specific parties that is directly and substantially related to my former employer or former
              clients, including regulations and contracts.32

              Based on this pledge and general ethics practice, many members of the press and public

   inferred that the nature and extent of AAG Kanter’s previous representations would bar him from

   working on Google matters because allowing him to remain in a supervisory role would create,

   at a minimum, the appearance of partiality.33

              On November 7, 2022, one year following his appointment, AAG Kanter assumed

   leadership of DOJ’s ad tech investigation, citing 5 C.F.R. § 2635.502(b)(1)(iv), Mot. 6, even

   though the Revolving Door Ban requires a two-year recusal period for any matter “involving

   specific parties that is directly and substantially related to” his “former clients.” AAG Kanter


   31
        Exec. Order No. 13989, 86 Fed. Reg. 7029-35 (Jan. 20, 2021).
   32
        Id.
   33
     E.g., Hirsch & McCabe, supra note 1 (“Mr. Kanter’s critics are likely to question whether his
   previous work is a conflict of interest that should keep him out of investigations into the tech
   giants.”); Ben Brody, What Can’t Jonathan Kanter Do?, Protocol (July 23, 2021),
   https://www.protocol.com/policy/kanter-recusals (“[H]is prior work as a corporate lawyer going
   after tech giants may require him to recuse himself from some of the DOJ’s marquee
   investigations and cases, including those involving Google”).


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   placed lawyers and economists around him who share his connections to Microsoft and an

   anti-Google history of work; for example, he hired Susan Athey, who worked for Microsoft since

   2007,34 to serve as the Antitrust Division’s Chief Economist.

           Google does not know the extent to which AAG Kanter maintains contact with his former

   clients concerning this litigation, although he was disclosed as the point of contact for three of

   them—Magnite, OpenX, and News Media Alliance—in the State Plaintiffs’ Initial Disclosures in

   a parallel proceeding.35 That topic is the subject of pending discovery requests and would cast

   even more light on the degree to which AAG Kanter’s public role in bringing this litigation was

   inappropriately infected with his previous private practice and financial incentives. It would also

   cast light upon the biases of AAG Kanter’s former clients, many of which are percipient fact

   witnesses in this litigation given their status as industry participants.

           G.      DOJ Sued Google Only After AAG Kanter Began Working on the Case.

           In December 2020, when Texas and nine other states sued Google, alleging that its ad

   tech business was an illegal monopoly under the federal antitrust laws, DOJ did not file suit,

   even though its investigation into Google’s ad tech practices had been pending for over a year.36

   In the five months following the Texas suit, 18 additional actions by various private plaintiffs

   were filed asserting similar claims against Google.37 One of these suits was brought by the Daily

   Mail, whose attorneys worked closely with AAG Kanter to lobby DOJ to file suit against

   34
     Susan Athey Trial Testimony at 1798-99, Epic Games, Inc. v. Apple, Inc., No. 4:20-cv-05640
   (N.D. Cal. May 11, 2021), ECF No. 782.
   35
    Ex. 14 at A-13, A-16, A-17 (excerpt of State Plaintiffs’ Initial Disclosures, In re Google Digit.
   Advert. Antitrust Litig., 1:21-md-03010 (S.D.N.Y.)).
   36
     Compl., Texas v. Google, LLC, 4:20-CV-957-SDJ (E.D. Tex. Dec. 16, 2020), ECF No. 1.
   37
      See ECF No. 44-2 at 6; see also Schedule of Actions, In re Google Digit. Advert. Antitrust
   Litig., MDL No. 3010 (J.P.M.L. Apr. 30, 2021), ECF No. 1-2; In re Digit. Advert. Antitrust
   Litig., 555 F. Supp. 3d 1372, 1380 (J.P.M.L. 2021).


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   Google.38 DOJ still did not file suit, nor did it do so, in August 2021, when the Judicial Panel on

   Multidistrict Litigation centralized the Texas action with the 18 other private actions in the

   Southern District of New York.39

             Despite AAG Kanter’s efforts on behalf of his former clients, and the roughly two million

   documents produced by Google, five million third-party documents, and 31 depositions of

   Google witnesses conducted by the end of February 2022, DOJ did not bring an ad tech

   complaint against Google. Nor did DOJ sue in the nine months that followed, during AAG

   Kanter’s “cooling off period” when he was effectively recused from the case, despite the fact that

   DOJ had access to virtually all of the materials relevant to deciding whether to sue Google. In

   sum, DOJ did not bring an ad tech complaint against Google during the three years that AAG

   Kanter was not the decisionmaker in the matter.

             Despite having been paid by well-established Google rivals to agitate for this lawsuit

   while in private practice, on November 7, 2022, AAG Kanter was authorized to lead this action

   on behalf of the federal government he had been lobbying. Mot. 6. As soon as AAG Kanter was

   “cleared” to lead the matter, a complaint was prepared that asserted the same antitrust theories

   that AAG Kanter had been paid to press for years on behalf of his private practice clients. The

   below chart provides illustrative examples of those antitrust theories advanced by AAG Kanter

   on behalf of private clients, and how those theories were incorporated into DOJ’s Complaint:




   38
     Ex. 15, DOJ-ADS-B-0000006124 (email from John Thorne—now also an attorney for News
   Corp—to DOJ, stating “Jonathan Kanter will reach out to you re follow-up with News Corp. Let
   me know what more Daily Mail might do to be useful, e.g.,[] regarding harm and remedies.”).
   39
        See In re Digit. Advert. Antitrust Litig., 555 F. Supp. 3d 1372, 1380 (J.P.M.L. 2021).

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     Antitrust Theory Advanced by Kanter on                DOJ Complaint Allegations
               Behalf of Prior Clients
    J. Kanter Letter to Members of Subcomm. on      “Rather than innovate and compete, Google
    Antitrust, Comm. & Admin. Law (10/17/19):       found a shortcut. In 2007, Google announced
    “Google did not acquire its dominant suite      that it would buy DoubleClick for $3.1
    of ad tech products through competition on      billion.” Compl. ¶ 79. “[I]n 2009, Google
    the merits. Rather, Google first bought the     paid $750 million to purchase AdMob.” Id.
    leading ad tech product at each point in        ¶ 85. “In 2010, Google acquired Invite
    the stack, acquiring DoubleClick in 2007,       Media for approximately $81 million.” Id.
    AdMob and Invite Media in 2010, and             ¶ 86. “In 2011, Google bought AdMeld for
    AdMeld in 2011.” Ex. 10                         approximately $400 million.” Id. ¶ 87. “The
    (NEWSCORP-DOJCID-00002354, at -55).             DoubleClick, Invite Media, and AdMeld
                                                    acquisitions helped Google achieve dominant
                                                    positions at each level of the open web ad
                                                    tech stack.” Id. ¶ 88.
    J. Kanter Letter to Members of Subcomm. on “When combined with the various advantages
    Antitrust, Comm. & Admin. Law (10/17/19): Google had afforded its ad exchange within
    Google’s “current practices focus primarily     Google’s publisher ad server, this approach
    on using its dominant publisher ad server       potentially could achieve all of Google’s
    (which publishers use to decide how to          goals: inhibit advertisers from transacting
    monetize their ad inventory) to drive ad        through rival exchanges engaged in header
    impressions to its own exchange and to          bidding while allowing Google to redirect
    disadvantage or exclude rivals into its own revenue and transactions back to Google’s
    ad exchange (a clearing house where             ad exchange, where it could charge
    advertisers bid on ad inventory). Google        supra-competitive fees.” Compl. ¶ 215.
    thus is able to extract a supracompetitive
    share of advertising revenues and undermine
    publishers’ ability to monetize their content.”
    Ex. 10 (NEWSCORP-DOJCID-00002354, at
    -56).
    J. Kanter email to DOJ attaching deck on         “Google, and Google alone, had control over
    behalf of Rubicon: “Google’s Ad Tech            both the leading source of advertiser demand
    Monopolization Toolbox” (9/12/19): “Google and the dominant publisher ad server. So,
    controls every layer of the Ad Tech             Google programmed its advertiser buying tool
    ecosystem . . . and they have #1 positions on to advantage its ad exchange.” Compl. ¶ 34.
    both Buy and Sell side. They literally decide
    who wins and loses. . . . Google uses its ad
    server monopoly to advantage its exchange
    and exclude rivals.” Ex. 2
    (DOJ-ADS-B-0000024792, with attached
    DOJ-ADS-B-0000024793, at -798).
    J. Kanter email to DOJ attaching deck on        “At the time of the DoubleClick acquisition,
    behalf of Rubicon: “Google’s Ad Tech            Google’s privacy policies prohibited the
    Monopolization Toolbox” (9/12/19): “Key         company from combining user data
    Google services, such as Gmail, have            obtained from its own properties, e.g.,
    enormous reach . . . After acquiring            Search, Gmail, and YouTube, with data


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    DoubleClick, Google promised that it               obtained from non-Google websites. But in
    would not use that first-party data to give        2016, as part of Project Narnia, Google
    its ad tech products an anticompetitive            changed that policy, combining all user data
    advantage. But in 2016, Google changed             into a single user identification that proved
    its privacy policy to allow it to use data from    invaluable to Google’s efforts to build and
    its first-party services to power its ad tech      maintain its monopoly across the ad tech
    products. Google gives exclusive access to         industry. Over time, Google used this unique
    this enormously valuable data to DBM +             trove of data to supercharge the ability of
    AdX.” Ex. 2 (DOJ-ADS-B-0000024792,                 Google’s buying tools.” Compl. ¶ 37 n.3.
    with attached DOJ-ADS-B-0000024793, at
    -804).
    J. Kanter email to DOJ attaching deck on           “Previously, Google used dynamic allocation
    behalf of Rubicon: “Google’s Ad Tech               in its publisher ad server to exclude rival
    Monopolization Toolbox” (9/12/19): “In             exchanges from meaningful competition. By
    2010, Google introduced ‘Dynamic                   only permitting Google’s own ad exchange
    Allocation’ to DFP. Dynamic Allocation             to bid in real time—ahead of any other
    changed the waterfall used by DFP to give          exchange—for impressions, Google was
    Google’s ad exchange, AdX, a right of first        unfairly advantaged and competitors were
    refusal to submit real-time bids for any           effectively stymied from competing.” Compl.
    remnant ad impression before sending that          ¶ 161 n.17.
    impression to a different demand source.
    Dynamic Allocation disadvantaged other
    demand sources.” Ex. 2
    (DOJ-ADS-B-0000024792, with attached
    DOJ-ADS-B-0000024793, at -811).
    J. Kanter Letter to Members of Subcomm. on         “Critically, through dynamic allocation,
    Antitrust, Comm. & Admin. Law (10/17/19):          Google’s ad exchange always received this
    “Google’s AdX has also enjoyed a ‘last             ‘last look’ advantage, essentially a right to
    look’ advantage, giving it the final say on        buy any impression as long as it had at least
    each ad impression.” Ex. 10                        one advertiser willing to match the competing
    (NEWSCORP-DOJCID-00002354, at -57).                bid price . . . .” Compl. ¶ 164.
    J. Kanter Letter to Members of Subcomm. on         “Dynamic allocation was a means by which
    Antitrust, Comm. & Admin. Law (10/17/19):          Google manipulated its publisher ad server to
    “‘While DFP prevents Google’s rivals from          give the Google-owned AdX (and only AdX)
    bidding on DFP inventory in real-time,             the opportunity to buy publisher inventory
    Dynamic Allocation gives AdX the ability to        before it was offered to any other ad
    do so. As a result, AdX can win ad                 exchange, and often to do so at artificially
    impressions at will—often at artificially          low prices.” Compl. ¶ 21.
    low prices—ahead of other
    intermediaries.” Ex. 10
    (NEWSCORP-DOJCID-00002354, at -56).
    J. Kanter email to DOJ attaching deck on           “In 2014, Google expanded and further
    behalf of Rubicon: “Google’s Ad Tech               entrenched its artificial advantages by
    Monopolization Toolbox” (9/12/19): “In             introducing ‘enhanced’ dynamic allocation,
    2015, Google introduced ‘Enhanced’                 which remains in place today. This update
    Dynamic Allocation, which allowed AdX to           allowed Google’s ad exchange to obtain the


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    read and outbid even guaranteed line items       benefits of dynamic allocation over
    (contracts negotiated directly between           inventory potentially covered by direct
    publishers and advertisers). This                contracts between publishers and
    ‘enhancement’ strengthened DFP’s ability to      advertisers.” Compl. ¶ 120.
    drive the choicest ad impression inventory to
    AdX, at the expense of independent adtech
    companies.” Ex. 2
    (DOJ-ADS-B-0000024792, with attached
    DOJ-ADS-B-0000024793, at -813).
    J. Kanter email to DOJ attaching deck on         “Because of the way Google configured DFP,
    behalf of Rubicon: “Google’s Ad Tech             the winning bid from the header bidding
    Monopolization Toolbox” (9/12/19):               auction was then sent to Google’s ad
    “Publishers and ad tech providers started to     exchange to see if it could beat that price.
    develop ‘header bidding’ a work-around           Critically, through dynamic allocation,
    technology to enable other demand sources        Google’s ad exchange always received this
    to submit real-time bids on remnant ad           ‘last look’ advantage, essentially a right to
    inventory that DFP, using Dynamic                buy any impression as long as it had at least
    Allocation, might otherwise withhold from        one advertiser willing to match the competing
    the bidding process. Once the                    bid price from the header bidding auction.”
    header-bidding auction is over, the winning      Compl. ¶ 164.
    bid is submitted as the floor to DFP.
    However, that meant that Google was still
    getting a ‘last look’ advantage.” Ex. 2
    (DOJ-ADS-B-0000024792, with attached
    DOJ-ADS-B-0000024793, at -816).
    J. Kanter Letter to Members of Subcomm. on       “Google was able to increase its data
    Antitrust, Comm. & Admin. Law (10/17/19):        advantage by obtaining access to the bids of
    “Google claims that Exchange Bidding             its rivals for each impression . . . even when
    allows rival demand sources to compete with      other ad exchanges opted to participate in
    AdX on equal footing, but Google’s               Open Bidding, they initially did not have
    non-transparent auction continues to give        access to the same data: they were forced to
    AdX a systematic advantage. Because              share their bids with Google without any
    Google controls the bidding process, it can      reciprocity.” Compl. ¶ 184.
    use competitors’ bidding data to inform its
    own bids.” Ex. 10
    (NEWSCORP-DOJCID-00002354, at -57).
    J. Kanter email to DOJ attaching deck on         “Google imposed a 5% fee on rival ad
    behalf of Rubicon: “Google’s Ad Tech             exchanges’ transactions through Open
    Monopolization Toolbox” (9/12/19): “Google       Bidding, effectively lowering the net bid of
    charges Rubicon Project’s publishers             Open Bidding ad exchange participants by
    5%-10% to use EB (and obtain responses           5% relative to AdX’s bid. This additional
    via third party exchanges). It charges           5% charge effectively amounted to a 25% or
    ZERO to use AdX. In a net bid auction,           more increase in the average ad exchange fee,
    that means AdX wins most of the time.”           making bids from rival ad exchanges much
    Ex. 2 (DOJ-ADS-B-0000024792, with                less attractive to publishers.” Compl. ¶ 181.
    attached DOJ-ADS-B-0000024793, at -817).


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    J. Kanter Letter to DOJ (9/25/2019):              “Google degraded the data it made available to
    Google’s “roll-out of a unified auction”          publishers that previously allowed them to
    will “harm competition even further by            monitor how Google’s ad exchange was
    eliminating critical tools for price              competing against rival ad exchanges. Prior
    transparency and competition. Specifically,       to late 2019, Google made available to
    Google has informed News Corp that Google         publishers a ‘data transfer file’ that allowed
    will begin imposing restrictions on the Bid       eligible publishers to see on an
    Data Transfer File (BDT), a tool that             impression-by-impression basis the individual
    publishers—and News Corp in                       bids from competition among ad exchanges
    particular—rely on to evaluate the                and certain advertising demand sources for the
    performance of ad inventory and the               publishers’ inventory. Publishers could then
    bidding behavior of buyers. Among other           respond to changes in the nature of
    things, these restrictions will limit the use     competition by tweaking the way in which
    BTD as a key tool for publishers to               they made their inventory available to their ad
    compare the performance of Google                 tech partners. . . . Following the shift to
    relative to its competitors.” “The data           Unified Pricing Rules and the introduction of
    Google currently shares with publishers           Smart Bidding, Google altered the files to
    using its ad tech products permits them to        prevent publishers from linking the bids
    link up specific bid information with specific    from Google’s advertising products to those
    impression information in order to measure        from rivals using header bidding for the same
    performance of ads on their properties. . . .     impression. This has made it more difficult
    Google’s upcoming changes to the BDT,             for publishers to make informed choices
    however, will prevent publishers from even        about how and where to make inventory
    doing that.” “Publishers will no longer be        available and to monitor Google’s bidding
    able to match bid impression level data, to       behavior for potential anticompetitive
    be able to determine whether Google is            conduct.” Compl. ¶¶ 260-61.
    running a fair auction and not still giving
    itself a ‘last look’ or similar arbitrage
    advantage.” Ex. 13 (DOJ-ADS-0000066206,
    at -06, -07, -08).
    J. Kanter Letter to DOJ (9/25/2019): “Google       “Of course, any purported concern about
    has publicly cited privacy justifications for     user privacy was purely pretextual; Google
    its changes to the BDT. As the attached           was more than happy to exploit its users’
    submission explains, Google’s justifications      privacy when it furthered its own economic
    are pretextual.” Ex. 13                           interests.” Compl. ¶ 95.
    (DOJ-ADS-0000066206, at -09).

          H.      Evidence from FAAs Demonstrates that DOJ Did Not File the Case on Behalf
                  of the FAAs.

          DOJ purports to bring its complaint on behalf of federal agencies,40 specifically the eight
   40
      Am. Compl. ¶ 278, ECF No. 120 (“The United States is among the advertisers harmed by
   Google’s anticompetitive conduct. United States departments and agencies, including ones in
   this district such as the Army, purchase open web display advertising using Google and
   non-Google ad tech tools.”); Justice Department Sues Google for Monopolizing Digital
   Advertising Technologies, Office of Public Affairs, U.S. Dep’t of Justice Press Release (Jan. 24,

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   Federal Agency Advertisers (“FAA”), but discovery from the FAAs has demonstrated that they

   do not believe they have been harmed by Google’s practices. To date, Google has deposed five

   FAA managing agents responsible for digital ad buying: (1) Kendall Oliphant, chief of the

   contract program office in the communications directorate of the Census Bureau, Ex. 16

   (Oliphant Dep. 33:7-34:3); (2) Christopher Karpenko, senior director of customer marketing for

   the United States Postal Service (“USPS”), Ex. 17 (Karpenko Dep. 13:20-16:14, 17:16-18:5,

   20:4-21); (3) Allen Owens, director of marketing, Navy recruiting command, Ex. 18 (Owens

   Dep. 50:13-51:6); (4) John Horning, director for the strategy, innovation, and data directorate at

   the Army Enterprise Marketing Office, Ex. 19 (Horning Dep. 62:14-63:5); and (5) Christopher

   Koepke, Director of the Strategic Marketing Group in the Office of Communications at the

   Centers for Medicare and Medicaid Services (“CMS”), Ex. 20 (Koepke Dep. 7:16-19).

          Each of the FAA witnesses who has been deposed to date testified that they did not view

   Google’s conduct as anticompetitive within the context of the normal course of their work. Ex.

   16 (Oliphant Dep. 63:6-11); Ex. 17 (Karpenko Dep. 139:3-8);               Ex. 18 (Owens Dep.

   210:22-211:23, 214:5-12, 216:9-13); Ex. 19 (Horning Dep. 17:25-18:9, 229:2-5, 229:14-16);

   Ex. 20 (Koepke Dep. 221:20-222:3, 224:13-17).41 Not only have the FAA witnesses testified

   that they do not view Google’s conduct as harmful, each has testified to the benefits Google has

   created for them.    Ex. 16 (Oliphant Dep. 298:12-299:21) (Google helped the census bureau


   2023), http://tiny.cc/eqdavz (DOJ seeks “treble damages for losses sustained by federal
   government agencies that overpaid for web display advertising”).
   41
     Given that none of the FAAs believed they had been harmed by Google, it is unsurprising that
   multiple FAA witnesses also testified that they had never sought DOJ’s legal advice relating to
   Google’s conduct. Ex. 16 (Oliphant Dep. 63:13-64:9) (“Q. And did you ever seek the legal
   advice of the antitrust division with respect to any anticompetitive conduct on the part of
   Google? A. No.”); Ex. 18 (Owens Dep. 88:25-89:7) (never requested legal advice from DOJ
   prior to learning about lawsuit when it was filed); Ex. 19 (Horning Dep. 8:2-23) (“Q. Have you
   ever requested legal advice from the Department of Justice Antitrust Division?” “A. No.”).

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   reach its advertising goals for the 2020 census); Ex. 17 (Karpenko Dep. 314:22-315:5) (“We

   have used Google because they do provide a value for the postal service for certain efforts that

   we are trying to make.”); Ex. 18 (Owens Dep. 212:8-214:4) (Navy has “found lots of value” in

   Google ad buying services Navy uses); Ex. 19 (Horning Dep. 182:25-183:11, 183:22-184:19,

   186:13-25, 188:14-23, 231:3-23) (Google digital advertising offerings have provided value to the

   Army); Ex. 20 (Koepke Dep. 66:9-73:5, 116:18-117:4, 145:25-146:7) (Google’s digital ad

   buying tools                      and increase the effectiveness of CMS’s display ads).

           In a declaration submitted by DOJ in opposing a motion to compel filed by Google, the

   government represented that “a draft complaint had been prepared” prior to December 23, 2022.

   Wolin Dec. ¶ 5, ECF 328-1. FAA testimony to date demonstrates that DOJ did not reach out to

   the FAAs until after this draft was prepared, undermining any claim that the complaint was

   brought on their behalf as the parties in interest. Ex. 16 (Oliphant Dep. 46:1-11, 58:17-59:2,

   60:16-61:3); Ex. 17 (Karpenko Dep. 49:7-14); Ex. 18 (Owens Dep. 39:11-20, 49:2-17); Ex. 19

   (Horning Dep. 38:8-39:17); cf. Ex. 20 (Koepke Dep. 282:24-283:22). Moreover, many of the

   FAA witnesses testified that they were unaware they would be participating in this lawsuit until

   around or after the time the Complaint was filed. Ex. 16 (Oliphant Dep. 61:6-12, 71:13-18); Ex.

   17 (Karpenko Dep. 50:18-51:4, 53:5-9); Ex. 19 (Horning Dep. 18:22-19:5, 45:5-10); Ex. 20

   (Koepke Dep. 280:20-281:10).

   IV.    THERE IS NO BASIS TO STRIKE OR GRANT JUDGMENT ON THE
          PLEADINGS AS TO GOOGLE’S DUE PROCESS AND SELECTIVE
          PROSECUTION DEFENSES.

          A.      Legal Standard

          Under Rule 12(c) of the Federal Rules of Civil Procedure, a party is entitled to judgment

   on the pleadings only when the pleadings, construing the facts in the light most favorable to the




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   non-moving party, (1) fail to state any cognizable claim for relief; and (2) the matter can be

   decided as a matter of law. Zeran v. Am. Online, Inc., 129 F.3d 327, 329 (4th Cir. 1997); O’Ryan

   v. Dehler Mfg. Co., Inc., 99 F. Supp. 2d 714, 718 (E.D. Va. 2000). A Rule 12(c) motion

   “generally cannot reach the merits of an affirmative defense.” Goodman v. Praxair, Inc., 494

   F.3d 458, 464 (4th Cir. 2007) (en banc); Sherrod v. Harkleroad, 674 F. App’x 265, 266 (4th Cir.

   2017) (courts apply the same standard applied to Rule(b)(6) motions to Rule 12(c) motions); see

   also Cohen v. SunTrust Mortg., Inc., 2017 WL 1173581, at *2 (D.S.C. 2017) (“The court rejects

   any argument a party may challenge the sufficiency of a defense (other than on grounds the

   defense is legally unavailable) under Rule 12(c).”).

          Federal Rule of Civil Procedure 12(f) allows a court to “strike from a pleading an

   insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Rule 12(f)

   motions are generally viewed with disfavor “because striking a portion of a pleading is a drastic

   remedy and because it is often sought by the movant simply as a dilatory tactic.” Waste Mgmt.

   Holdings, Inc. v. Gilmore, 252 F.3d 316, 347 (4th Cir. 2001). “Even where technically

   appropriate and well-founded, motions to strike defenses as insufficient are often denied in

   absence of a showing of prejudice to the moving party.” Riviera v. City of Chesapeake, 2023 WL

   3571930, at *2 (E.D. Va. 2023) (citation omitted). Accordingly, “in reviewing motions to strike

   defenses, federal courts have traditionally ‘view[ed] the pleading under attack in a light most

   favorable to the pleader.” Haley Paint Co. v. E.I. Du Pont De Nemours & Co., 279 F.R.D. 331,

   336 (D. Md. 2012). A motion to strike must be filed “within 21 days of being served with [a]

   pleading.” Fed. R. Civ. P. 12(f)(2).

          B.      Plaintiff’s Motion Is Procedurally Improper.

          Google filed its Answer to the First Amended Complaint on May 12, 2023, ECF No. 208.

   Plaintiffs considered filing a timely Rule 12(f) motion to strike; they reached out to Google on

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   May 31, 2023—19 days after Google filed its Answer—to meet and confer on such a motion.

   Ex. 21.42 The next day, however, they canceled the meet and confer and informed Google they

   would not be filing any motion. Ex. 22. Plaintiffs waited until August 18, 2023 to request that

   the Court strike Google’s defenses, ECF No. 317—98 days after receiving Google’s answer.

   Given that such a request is untimely under the Federal Rules, Plaintiffs try to avoid Rule 12(f)’s

   time bar by seeking alternative relief under Rule 12(c).

          Plaintiffs’ Motion should be denied, on the basis that its Rule 12(f) motion is untimely,

   and its Rule 12(c) motion is procedurally improper because it is the wrong procedural vehicle for

   Plaintiff’s partial challenge to Google’s affirmative defenses.

          i. Plaintiffs’ Motion Is Untimely Under Rule 12(c).

          A motion for judgment on the pleadings is untimely when filed near the close of fact

   discovery, when resolution of the claims at issue depends on a fact-intensive inquiry. E.g.,

   Grajales v. Puerto Rico Ports Authority, 682 F.3d 40, 46 (1st Cir. 2012) (“Applying the

   plausibility standard to [a pleading’s claims or defenses] after discovery is nearly complete

   would defeat” the purpose of a Rule 12(c) or Rule 12(f) motion because such motions are “by []

   nature, a threshold inquiry, and logic strongly suggests that it occur prior to discovery.”); cf.

   Herring v. Lapolla Indus., Inc., 2013 WL 12148769, at *1 (D.S.C. 2013) (denying Plaintiff’s

   motion to stay discovery for resolution of Plaintiffs’ end-of-discovery Rule 12(c) motion because

   “Plaintiff . . . could have filed his motion for judgment on the pleadings earlier in the case”).

   Because “once the parties have invested substantial resources in discovery, a district court should


   42
      Google’s Request for Production Number 40, seeking documents relating to the affirmative
   defenses at issue, was served on March 27, 2023. Ex. 23 (excerpt of Google’s First RFP to the
   United States) (Request 40 seeks documents related to AAG Kanter’s “participation in the
   Investigation and/or this Action, including the decision to bring this Action, in light of his (a)
   prior representation of providers of Ad Tech Products and/or organizations connected to Display
   Advertising; or (b) actual or perceived adversity to Google.”).

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   hesitate to entertain a Rule 12(c) motion.” Grajales, 682 F.3d at 46. Claims should be decided

   on an evidentiary record, either based on a motion for summary judgment or at trial.

          This court’s analysis in Biniaris v. Hansel Union Consulting, PLLC is instructive, though

   the ruling ultimately turned on other grounds. There, a party brought a Rule 12(c) motion nearly

   four months after the answer was filed, after the court had held the Rule 16(b) conference, and

   mid-way through discovery. Biniaris, 382 F. Supp. 3d 467, 471 (E.D. Va. 2019). The court

   questioned whether the movants’ motion was timely under Rule 12(c), and held that Rule 12(c)

   motions were improper after the parties had engaged in substantial discovery. The court

   reasoned that “it is not clear that [the] Motion was made ‘early enough not to delay trial,’

   considering the potential delay that would arise if [the] Motion was granted and Biniaris was

   permitted leave to amend her pleadings, thus requiring a new responsive pleading from Hansel

   and potentially a new Rule 16(b) Scheduling Conference.” Id.

          ii. Rule 12(c) is an improper vehicle to challenge Google’s affirmative defenses.

          A Rule 12(c) motion on a defense should only be granted if it appears that the

   non-moving party cannot prove “any set of facts in support of his claim” and the claim may be

   resolved as a matter of law. Priority Auto Grp., Inc. v. Ford Motor Co., 757 F.3d 137, 139 (4th

   Cir. 2014). That standard is not met here.

          While Plaintiffs cite the Iqbal/Twombly standard as a ground for granting judgment on the

   pleadings for Google’s due process and selective enforcement defenses, “the trend in this District

   in recent years has been not to apply the [Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007),

   and Ashcroft v. Iqbal, 556 U.S. 662 (2009)] standard to affirmative defenses.” Van Vleck v.

   Sallyport Global Holdings, Inc., 2019 WL 13297195, at *3 (E.D. Va. 2019); ISK Biocides, Inc. v.

   Pallet Mach. Grp. Inc., 2022 WL 19976453, at *2 n.1 (E.D. Va. 2022) (declining to apply




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   Twombly/Iqbal heightened pleading standard to affirmative defenses). Therefore, “[a]n

   affirmative defense may be pleaded in general terms and will be held to be sufficient . . . as long

   as it gives plaintiff fair notice of the nature of the defense.” Clem v. Corbeau, 98 F. App’x 197,

   203 (4th Cir. 2004). Fair notice is provided where the “challenged defenses are contextually

   comprehensible and possibly related to the controversy.” Van Vleck, 2019 WL 13297195, at *3.

          More importantly, Plaintiffs cite no authority for applying the Iqbal/Twombly standard to

   defenses, near the close of fact discovery, when the plaintiff has “fair notice of the factual basis”

   of Google’s defenses. Cf. Bradshaw v. Hilco Receivables, LLC, 725 F. Supp. 2d 532, 536 (D.

   Md. 2010) (Iqbal/Twombly pleading standard is “intended to ensure that an opposing party

   receives fair notice of the factual basis for an assertion contained [in] a claim or defense”).

   Plaintiffs are unquestionably on notice of the factual basis for Google’s defenses, as

   demonstrated by the extensive factual arguments in their brief. The appropriate remedy, if any,

   at this juncture is not to strike the defenses or grant judgment on the pleadings, but rather to

   allow Google to amend its defenses to conform to the evidence in discovery. E.g., Composite

   Resources, Inc. v. Alphapointe Combat Medical Sys., LLC, 2018 WL 3822468, at *4 (W.D.N.C.

   2018) (“Typically, courts favor amendments that conform to evidence seen as fair without

   placing a burden on the opposing party.”).43

          What Plaintiffs really seek here is a premature summary judgment decision on the merits

   of the defenses, seeking to preempt Google from obtaining the full benefit of discovery to defend

   its position. That is not the purpose of Rule 12(c). A motion for judgment on the pleadings


   43
      Courts usually allow amendment of a pleading in response to a Rule 12(c) motion. E.g., Scott
   v. Fam. Dollar Stores, Inc., 733 F.3d 105, 108 (4th Cir. 2013) (reversing district court’s denial of
   motion to amend following opposing party’s 12(c) and 12(f) motion); Drapkin v. Mjalli, 441 F.
   Supp. 3d 145, 159 (M.D.N.C. 2020) (granting motion to amend in response to 12(c) motion).
   There would be no prejudice to Plaintiff from such an amendment because it already knows the
   factual basis for Google’s defenses.

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   “generally cannot resolve the merits of an affirmative defense” except in the “relatively rare

   circumstances where facts sufficient to rule on the affirmative defense are alleged in the

   complaint.” Goodman, 494 F.3d at 464; see also CertusView Techs., LLC v. S&N Locating

   Servs., LLC, 111. F. Supp. 3d 688, 703 (E.D. Va. 2015) (“a court may not consider matters

   outside the pleadings without converting a Rule 12(c) motion into a motion for summary

   judgment under Rule 56”).

          Here, as the parties’ briefs demonstrate, resolution of Google’s defenses is dependent on

   a “fact-intensive” inquiry and therefore is “ill suited to judgment on the pleadings.” Colon

   Health Centers of Am., LLC v. Hazel, 733 F.3d 535, 546 (4th Cir. 2013). E.g., Lewis v. Excel

   Material LLC, 2013 WL 4585873, at *3 (D.S.C. 2013) (where “the pleadings do not resolve all

   the factual issues in this case” a trial “on the merits would be more appropriate than an attempt at

   resolution of certain issues of the case on a Rule 12(c) motion”); Raynor v. G4S Secure Sols.

   (USA) Inc., 283 F. Supp. 3d 458, 465 (W.D.N.C. 2017) (denying motion for judgment on

   pleadings because “factual issues are more appropriately resolved after discovery at summary

   judgment”); Scales v. Webb, 2016 WL 1267756, at *5 (M.D.N.C. 2016) (denying 12(c) motion

   where it was “simply premature” because court could not “resolve factual issues”).

          C.      Google’s Due Process Defense Depends on the Resolution of Factual Issues
                  that Cannot Be Resolved on a Rule 12(c) Motion.

          “The requirement of fundamental fairness assured by the Due Process Clause” prevents a

   prosecutor from “attempting at once to serve two masters.” Granger v. Peyton, 379 F.2d 709,

   714 (4th Cir. 1967). Due Process bars a prosecutor from bringing a case in order to advance

   personal—rather than public—interests. Id. “A scheme injecting a personal interest, financial or

   otherwise, into the enforcement process may bring irrelevant or impermissible factors into the

   prosecutorial decision and in some contexts raise serious constitutional questions.” Marshall v.


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   Jerrico, Inc., 446 U.S. 238, 249-50 (1980).

          Lawyers for the government are “the representative[s] not of an ordinary party to a

   controversy, but of a sovereignty whose obligation to govern impartially is as compelling as its

   obligation to govern at all.” Young v. United States ex rel. Vuitton et Fils S.A., 481 U.S. 787, 803

   (1987) (quoting Berger v. United States, 295 U.S. 78, 88 (1935)); accord Freeport-McMoRan Oil

   & Gas Co. v. FERC, 962 F.2d 45, 47 (D.C. Cir. 1992) (quoting Berger, 295 U.S. at 88). In this

   representative capacity, a government lawyer’s interest is not that the government “shall win a

   case, but that justice shall be done.” Berger, 295 U.S. at 88 (government lawyer “is in a peculiar

   and very definite sense the servant of the law, the twofold aim of which is that guilt shall not

   escape or innocence suffer”); accord Young, 481 U.S. at 803; Wright v. United States, 732 F.2d

   1048, 1056 (2d Cir. 1984) (a prosecutor is “not disinterested if he has, or is under the influence

   of others who have, an ax to grind against the defendant, as distinguished from the appropriate

   interest that members of society have in bringing a defendant to justice with respect to the crime

   with which he is charged”). This neutrality principle implicates Due Process because it ensures

   fairness to the investigated party.

          This neutrality principle is enshrined in, among other things, the Biden Ethics Pledge,44

   described above, as well as the International Competition Networks’ (“ICN”) Ethics Rules in

   Competition Agencies, applicable ABA Standards, and accepted norms:


   44
      Other Executive Office officials have sought limited waivers of the Biden Ethics Pledge in
   circumstances not nearly as concerning as those present here, and have been precluded from
   participating in decision making relating to prior advocacy work. E.g., Ex. Limited Waiver for
   Vanita Gupta (Sept. 2, 2021), http://tiny.cc/lqdavz (limited waiver precluded participation in
   “decisions to initiate investigations in matters on which she lobbied the Department”); Limited
   Waiver for Raina Thiele (Feb. 16, 2022), http://tiny.cc/mqdavz (“limited waiver does not permit
   you to participate in matters in which you previously participated personally and substantially as
   a consultant”); Limited Waiver for Marianne Engelman-Lado (Apr. 14, 2021),
   http://tiny.cc/qqdavz (granted limited waiver but required to remain recused from matters in
   which she “participated personally and substantially previously”).

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              ● ABA Standards: “The prosecutor should not permit the prosecutor’s professional
                judgment or obligations to be affected by the prosecutor’s personal, political,
                financial, professional, business, property, or other interests or relationships. A
                prosecutor should not allow interests in personal advancement or aggrandizement
                to affect judgments regarding what is in the best interests of justice in any case.”
                ABA Standards for the Prosecution Function, Standard 3-1.7(f).

              ● ICN Standards: “Agency officials should not have relational or financial conflicts
                of interest relating to the investigations and proceedings they participate in or
                oversee. To help ensure the impartiality of investigations and decision making,
                agencies should have ethics rules to prevent potential conflicts, e.g. recusals or
                ‘cooling-off’ periods.” International Competition Network’s Recommended
                Practices for Investigative Process, Section V.8.1.

          Through its due process defense, Google will show the influence that AAG Kanter’s

   anti-Google bias—shared by former clients of AAG Kanter while he was in private

   practice—has had on the filing of this case. That bias has shaped and infected this entire

   proceeding, and reflects an improper predisposition to find against Google, rather than ensure

   that justice is done. Marshall, 446 U.S. at 242-43. As discovery to date establishes, industry

   participants—who were not represented by AAG Kanter—view the marketplace as competitive,

   with Google providing significant benefits to the advertising ecosystem. Even managing agents

   of the FAAs, each of whom has the job of advertising for the FAAs, have testified in depositions

   that Google’s products and services have benefited them, and they do not feel aggrieved by

   anything Google has done.     Rather than reflecting commercial realities, the allegations and

   claims in the case are based on the positions that AAG Kanter advanced on behalf of his private

   clients. As reflected in the above side-by-side chart comparing AAG Kanter’s advocacy for

   private paying clients with the allegations in the complaint, AAG Kanter’s advocacy provided

   the foundation for many of the allegations in the complaint. His influence on shaping the

   complaint’s allegations has infected this entire proceeding. The decision to prosecute this case

   was therefore not that of a prosecutor who is not “motivated by improper factors.” Marshall,




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   446 U.S. at 250. Those facts distinguish the present case from FTC v. Facebook, Inc. where

   Facebook did not argue that FTC Chair Khan was pursuing the interests of former paying clients.

   581 F. Supp. 3d 34, 61-62 (D.D.C. 2022). Instead, Facebook alleged that Chair Khan’s past

   personal views regarding Facebook’s monopoly power made it improper for her to serve as the

   deciding vote in a 3-2 decision to refile a lawsuit the FTC had previously brought before her

   tenure at the FTC even began. Id.

          The evidence Google has presented demonstrates Google’s due process defense cannot be

   resolved on the basis of the pleadings, and Plaintiffs’ motion to strike the defense or for

   judgment on the pleadings should be denied.

           D.     Google’s Selective Enforcement Defense Depends on the Resolution of
                  Factual Issues that Cannot Be Resolved on a Rule 12(c) Motion.
          Selective enforcement is a defense in a civil enforcement action. Plaintiff does not point

   to any authority (binding or otherwise) categorically barring a selective enforcement defense. On

   the contrary, multiple courts have recognized the availability of the defense, denying similar

   motions brought by government enforcers. See, e.g., City of Chicago v. DoorDash, Inc., 636 F.

   Supp. 3d 916, 922 (N.D. Ill. 2022) (denying motion to strike defendant’s selective prosecution

   affirmative defense); SEC v. Lemelson, 334 F.R.D. 359, 362 (D. Mass. 2020) (denying SEC’s

   motion for protective order relating to defendant’s selective enforcement and bias affirmative

   defenses); United States v. McGraw-Hill Cos., Inc., 2014 WL 1647385, at *10-13 (C.D. Cal.

   2014) (denying United States’ motion to strike selective prosecution affirmative defense and

   permitting discovery); United States v. Am. Elec. Power Serv. Corp., 218 F. Supp. 2d 931,

   940-41 (S.D. Ohio 2002) (denying United States’ motion to strike selective prosecution

   affirmative defense).

          Selective enforcement contains two elements: (1) discriminatory effect, and



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   (2) discriminatory purpose. Central Radio Co. Inc. v. City of Norfolk, 811 F.3d 625, 634-35 (4th

   Cir. 2016).

          Discriminatory effect. The discriminatory effect of a prosecutor’s selective enforcement

   may be shown by the non-prosecution of similarly-situated parties. United States v. Hastings,

   126 F.3d 310, 313 (4th Cir. 1997). This only requires “some evidence tending to show the

   existence” of “different treatment of similarly situated persons.” McGraw-Hill, 2014 WL

   1647385, at *12; see also Hastings, 126 F.3d at 313.

          The circumstances here show that the United States has singled out Google. Despite

   general public comments about his intention to heighten scrutiny of “big tech,” such as stating

   that he has been a “strong proponent of vigorous antitrust enforcement in the technology area” at

   his November 2021 nomination hearing, AAG Kanter has done little to step up antitrust

   enforcement against any other “big tech” companies besides Google.45            While Google’s

   acquisition of DoubleClick received intensive antitrust scrutiny, and was challenged by

   Microsoft—then represented by Kanter—Microsoft’s acquisition of Xandr did not receive any

   antitrust review, to Google’s knowledge, even though the transaction resulted in Microsoft

   obtaining an ad tech stack strikingly similar to the Google ad tech stack, with features and

   characteristics that DOJ criticizes. And, even though the DoubleClick acquisition was approved

   by the FTC 16 years ago, AAG Kanter is now seeking to unravel the transaction. AAG Kanter

   has provided no indication that he has similar plans to unravel the Microsoft ad tech stack. In a

   similar case, the defendant made a sufficient showing of discriminatory effect where it was the

   only one of the three major credit rating agencies to face a government enforcement action.

   McGraw-Hill, 2014 WL 1647385, at *1-2, 12 (“Of the three major ratings agencies,” United
   45
      Cat Zakrzewski & Rachel Lerman, Tech Adversary Kanter Tells Senators He Will Pursue
   ‘Vigorous’ Antitrust Enforcement in Nomination Hearing, Wash. Post (Oct. 6, 2021),
   http://tiny.cc/tqdavz.

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   States sought civil penalties “against only S&P” for deliberately misrepresenting integrity of

   credit ratings of certain structured debt securities at the center of the 2008 financial crisis). While

   the court recognized that the “Government may indeed have many good reasons for its

   decisions,” it found that the defendant was nonetheless “entitled to test the Government’s case

   through discovery.” Id. at 12.

          Plaintiffs’ cases involved remarkably weaker showings of discriminatory effect. For

   example, in AT&T—a merger challenge—the defendants pointed the court to a comparator

   merger where the government did file an enforcement action to enjoin the merger. 290 F. Supp.

   3d at 4. In SEC v. Western International Securities, Inc., the defendants were challenging

   enforcement of a new regulation, believing that “the mere fact it [was] the subject of the SEC’s

   first-ever lawsuit to enforce” the new regulation “means that it [was] the victim of selective

   enforcement.” 2023 WL 2480732, at *9 (C.D. Cal. 2023). Google’s situation is nothing like

   those cases: DOJ has not brought an enforcement action against Microsoft nor is DOJ bringing

   its “first-ever” lawsuit under the Sherman Antitrust Act.

          Discriminatory purpose. The discriminatory-purpose prong may be satisfied by showing

   the decision to prosecute was “invidious or made in bad faith.” Hastings, 126 F.3d at 313.

   Several factors are probative of this element, including: “the specific sequence of events leading

   up to the particular decision being challenged, including any significant departures from normal

   procedures.” Central Radio, 811 F.3d at 635.

          AAG Kanter’s long history of critical comments of Google and advocacy on behalf of

   third-parties critical to this litigation satisfies the “some evidence” requirement of discriminatory

   intent. McGraw-Hill, 2014 WL 1647385, at *12. In McGraw-Hill, the Treasury Secretary made

   multiple statements to the defendant corporation expressing his displeasure with the company’s




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   downgrade of the United States’ credit rating. Id. (United States opened civil investigation in

   2009 but did not bring an enforcement action until after S&P downgraded United States’ credit

   rating in 2011). While the court recognized that the Secretary’s statements were “susceptible to

   several interpretations” and it was “unclear whether there [was] a nexus between his displeasure

   and the Department of Justice’s litigation decisions,” it found that “such open questions are

   properly answered after—not before—discovery.” Id. (emphasis added). Even more probative

   here, unlike in McGraw-Hill, AAG Kanter controls the Department of Justice’s antitrust

   enforcement decisions—there is a direct, not a dotted line, between the circumstantial evidence

   of AAG Kanter’s animus towards Google and this lawsuit. Like in McGraw-Hill, Google is

   “entitled” to discovery on its selective enforcement claim. Id.

   V.     INDEPENDENT OF GOOGLE’S DEFENSES, THE REQUESTED DISCOVERY
          IS RELEVANT TO THE BIASES, MOTIVES, AND CREDIBILITY OF PARTIES
          THAT ARE LIKELY TO BE KEY DOJ WITNESSES.

          Plaintiff cannot meet its burden of demonstrating good cause for issuance of a protective

   order, precluding document and deposition testimony from the United States. “Good cause

   generally requires ‘demonstrating that specific prejudice or harm will result if no protective order

   is granted.’” In re Zetia (Ezetimibe) Antitrust Litig., 2022 WL 18109999, at *2 (E.D. Va. 2022).

   “Protective orders are ‘sparingly used and cautiously granted.’” Id.

          Apart from its defenses, the Federal Rules allow discovery to challenge witness

   credibility “not otherwise relevant to the claims or defenses.” Amendments to Federal Rules of

   Civil Procedure, 192 F.R.D. 340, 389 (2000). “Proof of bias is almost always relevant because

   the jury, as finder of fact and weigher of credibility, has historically been entitled to assess all

   evidence which might bear on the accuracy and truth of a witness’ testimony.” United States v.

   Abel, 469 U.S. 45, 52 (1984).       Courts regularly grant discovery of evidence to challenge



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   credibility. See, e.g., Minor v. Bostwick Lab’ys, Inc., 2012 WL 13028138, at *2 (E.D. Va. 2012)

   (granting motion to compel because discovery included “documents . . . that impact [potential

   witness’] credibility”).

          While Google cannot know, for example, what documents responsive to Request 40 will

   show, at a minimum, those documents should provide Google with material to use on

   cross-examination to bring out the biases of witnesses, including biases of former AAG Kanter

   clients who are likely to be key DOJ witnesses. Establishing a witness’s “partiality” is “always

   relevant,” “affecting the weight of his testimony.” United States v. Turner, 198 F.3d 425, 429 n.2

   (4th Cir. 1999); see also e.g., Dorman v. Annapolis OB-GYN Assocs., P.A., 781 F. App’x 136,

   144 (4th Cir. 2019) (“[T]he second major function of cross examination is to show that the

   witness is biased, prejudiced, or untrustworthy for any reason.” (ellipsis and quotation marks

   omitted)).

                                               CONCLUSION

          For the foregoing reasons, Plaintiffs’ motion should be denied.




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    Dated: August 31, 2023             Respectfully submitted,

                                       /s/ Craig C. Reilly
                                       Craig C. Reilly (VSB # 20942)
                                       THE LAW OFFICE OF
                                        CRAIG C. REILLY, ESQ.
                                       209 Madison Street, Suite 501
                                       Alexandria, VA 22314
                                       Telephone: (703) 549-5354
                                       Facsimile: (703) 549-5355
                                       craig.reilly@ccreillylaw.com

                                       Eric Mahr (pro hac vice)
                                       Andrew Ewalt (pro hac vice)
                                       Julie Elmer (pro hac vice)
                                       Lauren Kaplin (pro hac vice)
                                       Scott A. Eisman (pro hac vice)
                                       Jeanette Bayoumi (pro hac vice)
                                       Claire Leonard (pro hac vice)
                                       Sara Salem (pro hac vice)
                                       Tyler Garrett (VSB # 94759)
                                       FRESHFIELDS BRUCKHAUS
                                       DERINGER US LLP
                                       700 13th Street, NW, 10th Floor
                                       Washington, DC 20005
                                       Telephone: (202) 777-4500
                                       Facsimile: (202) 777-4555
                                       eric.mahr@freshfields.com

                                       Counsel for Defendant Google LLC




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